Case 6:20-cv-00701-WWB-DCI Document 59-4 Filed 07/22/21 Page 1 of 4 PagelD 2086

Exhibit 4
Case 6:20-cv-00701-WWB-DCI Document 59-4 Filed 07/22/21 Page 2 of 4 PagelD 2087

U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, NW

Washington, DC 20530

Kevin P. Hancock Tel: (202) 514-3183
Trial Attorney Fax: (202) 616-8470
Email: Kevin.P.Hancock@usdoj.gov

June 4, 2020

By Email
Confidential Rule 408 Settlement Communication

Derek B. Brett, Esq.
Burnside Law Group
Park Central, Unit 9
109 Ilsley Avenue
Dartmouth, NS, Canada
B3B 188
dbb@burnsidelaw.com

A. Brian Phillips, Esq.

912 Highland Avenue

Orlando, Florida 32803
Brian.Phillips@phillips-law-firm.com

Re: Soul Quest, et al. v. Barr, et al., 6:20-cv-701 (M.D. Fla.) — Supplemental information to our
negotiations on June I, 2020

Dear Mr. Brett & Mr. Phillips:

This letter follows our discussions on June 1, 2020 concerning the petition for religious
exemption that you presented to the United States Department of Justice, Drug Enforcement
Administration (DEA), on behalf of your client, Soul Quest Ayahuasca Church of Mother Earth,
Inc. (Soul Quest), d/b/a the Soul Quest Ayahuasca Retreat and Wellness Center, as updated by
the exhibits to the First Amended Complaint (FAC) and motion for preliminary injunction which
you recently filed in the above-captioned matter.

As discussed during that call, in exchange for Soul Quest’s agreement to stay the litigation
(including withdrawal of its preliminary injunction motion) DEA is willing to commit to
responding to Soul Quest within 14 days of receiving Soul Quest’s answers to the questions in
DEA’s letter to Soul Quest dated May 29, 2020. In its response, DEA would either: (a) start
scheduling interviews, or (b) if necessary, request clarification regarding any of the answers in
Case 6:20-cv-00701-WWB-DCI Document 59-4 Filed 07/22/21 Page 3 of 4 PagelD 2088

Soul Quest’s response prior to scheduling interviews. In addition, DEA would commit to
providing Soul Quest a final determination on its petition within 75 days after DEA’s fact-
finding is complete, including any necessary interviews and site visit(s).

Also during our discussions, you stated that your clients had asked for additional information
about the DEA pre-registration investigation process. In response, DEA has authorized DOJ to
convey on their behalf the following information explaining the preregistration process:

Registration is essential to the comprehensive regulatory scheme established by the
Controlled Substances Act, as amended (“CSA” or “the Act”), 21 U.S.C. §§ 801 et seq.
Under the CSA, the Attorney General, who has delegated this authority to DEA, must
register an applicant to distribute or manufacture a Schedule I controlled substance unless it
is determined that registration would be inconsistent with the public interest. Jd., § 823(b).!
In determining the public interest, several factors must be considered, including, but not
limited to, whether the applicant will maintain effective controls against diversion of the
particular controlled substance into illicit channels and will be compliant with applicable
state and federal laws and regulations. Id. DEA Diversion Investigators (“DIs”) therefore
routinely review applications for registration, including applications from doctors,
pharmacies, distributors, importers/exporters, or manufacturers, gather relevant information,
and inspect registrants’ establishments. 21 C.F.R. § 1301.31. In the case of applications for
exemption from aspects of the regulatory scheme on religious grounds, DEA must also
determine pursuant to the Religious Freedom Restoration Act (RFRA) whether the applicant
has established sincerity and the religious nature of the applicant’s professed belief system
and whether application to the applicant’s religious practices of any specific requirement of
the CSA’s comprehensive regulatory system would substantially burden the applicant’s
religious exercise.

If Soul Quest’s responses to the questions posed in DEA’s May 29, 2020 letter to you are
sufficiently complete, DEA will then promptly initiate a preregistration investigation.
Preregistration investigations are routinely conducted by DIs. Unlike Special Agents, who
exercise federal peace officer powers, DEA DIs do not have the power to make arrests and
do not carry firearms. And to be clear, preregistration investigations are not criminal
investigations.”

' If, after considering the results of a preregistration inspection, DEA is unable to conclude that

registration would be in the public interest, DEA must issue an Order to Show Cause why the application
should not be denied. See 21 C.F.R. § 1309.46.

2 Even though preregistration investigations are not criminal investigations, federal law makes it a

criminal offense to make a false statement in matters of federal interest. 18 U.S.C. § 1001. DEA can
therefore refer to appropriate authorities for criminal prosecution willfully false statements of material
fact made to Diversion Investigators.
Case 6:20-cv-00701-WWB-DCI Document 59-4 Filed 07/22/21 Page 4 of 4 PagelD 2089

The Diversion Program Manager (DPM) for the DEA Miami Field Division will assign
the investigation to a Diversion Group in DEA’s Orlando District Office, as Soul Quest’s
location falls within that office’s jurisdiction. After DEA receives complete answers to the
questions in its May 29, 2020 letter to Soul Quest, a Diversion Investigator will promptly
contact Soul Quest to schedule a series of interviews with Soul Quest leadership and
individuals who have access to or responsibility for the import, storage, safekeeping, and
distribution of the controlled substance. Counsel for Soul Quest are welcome to attend these
interviews.

DI personnel will review Soul Quest’s responses to the May 29, 2020 questions and ask
follow-up questions. DI personnel will also discuss with Soul Quest, in detail, the regulatory
requirements relating to record-keeping, security measures, and the process by which to
obtain import permits. After assessing the adequacy of Soul Quest’s existing and any
planned additional security measures, the DIs may identify additional needed security
measures and will schedule on-site inspections. Again, your counsel can be present for any
on-site inspection.

Upon completion of the interviews and onsite inspections, the application will be
forwarded to the Diversion Control Division in DEA Headquarters for review. After that
review is complete, DEA will either issue Soul Quest appropriate DEA registration(s) or an
Order to Show Cause why registration should not be denied.

I hope that this information I have conveyed on behalf of DEA addresses your questions
concerning the DEA pre-registration investigation process. Please let me know if there is any
additional information that would be helpful, and I look forward to your response.

Best regards,

Kevin P. Hancock
